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                                                                                           U.S. DISTRICT COL ir·- -- 'l N.Y,

                                                                                                   FEB 28 2020
                          IN THE UNITED STATES DISTRICT COURT
                                                                                           *LONG ISLAND OFFJCE
                         FOR THE EASTERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

 v.
                                                                             18-CR-46 (JMA)
 RYAN YOUNG,
      also known as "Richard Cullen,"                                       Judge Joan A. Azrack

          Defendant.

 ***
 PACNET SERVICES, LTD.,
 CHEXX (AMERICAS) INC., and
 ACCU-RATE CORP.

          Petitioners.


                VERIFIED PETITION FOR ANCILLARY PROCEEDINGS
              TO ADJUDICATE INTEREST PURSUANT TO 21 U.S.C. § 853{n)

        PacNet Services, Ltd. ("PacNet Services"), Chexx (Americas) Inc. ("Chexx"), and Accu-

Rate Corporation ("Accu-Rate") (collectively, "PacNet," "PacNet Group," or "Petitioners"), by

and through counsel, 1 hereby petition the Comt for an ancillary hearing pursuant to 21 U.S.C. §

853(n) and Federal Rule of Civil Procedure 32.2 and move the Court to amend the Preliminary

Order of Forfeiture in the above-captioned matter (0kt. 15) ("Preliminaiy Order") by striking

paragraphs (c) tlu·ough (g) of that Order. Petitioners fmther move the Court to order the property

identified in those paragraphs deposited in the interpleader account maintained in the Comt' s

registry in Case No. 17-cv-6027 (E.D.N.Y.) in sufficient amount to satisfy the terms of the



1 This Petition is Verified by the sworn signature of Bill Leong pursuant to 21 U.S.C. § 853(n)(3). My Leong was

employed as Chief Accountant to PacNet Services Ltd., overseeing accounting matters for the PacNet Services Group,
from January 2011. He remains on a contract basis to assist with the orderly wind-down of the group, a complex
process which has already taken some three-and-a-half years.
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Government's September 2(H1 agreement with. PaeNet attd that atty remaining funds be returned

tp th!l Pt;titloners, Petitioners further request an award of attorney's fees a11d .e){pi:;ns.es relating to

this ancillaiy petition pursuant to federa1 law; Jnch:idfog 28 U,S;C. § 2412..

        Additionally~
                    . Petitioners adopt an.d incorp.oi'ate by reference the lnterpleader Complaint,
                                                                                            .


it~ accompanying exhibits, and its accompanying declarations filed in cast; .;PqcNl!-t .Service:, Ltd,

v. Office of Foreign Assets Controlofthe United St-ates Dep 't' ofTreqswy, et al., No. 17°aV-6027

(E.D.N. YJ


Dated: February 28th, 2020

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I.        INTRODUCTION

          On February 13, 2018, Defendant Ryan Young ("Young") waived his right to an indictment

and pied guilty to a single count of conspiracy to commit mail fraud in violation of 18 U.S.C.

§§ 1341 and 1349. Dkt. 7. The criminal information to which Young pied guilty contained a

general "Criminal Forfeiture Allegation" alleging that 18 U.S.C. § 981(a)(l)(C) and 28 U.S.C.

§ 2461(c) "require any person convicted of such offense to forfeit any property, real or personal,

constituting, or derived from, proceeds obtained directly or indirectly as a result of such offense."

Dkt. 6 at 5. The information did not identify the specific property the Government sought to forfeit,

nor did the public docket or the plea colloquy include any other indication of the specific property

the Government intended to forfeit.

         After Young pied guilty, the Government filed two bills of paiticulars that identified the

specific property the Government sought to forfeit. 2 Dkts. 4 and 11. Those bills identified twelve

distinct pools of money, many of which were not the property of Young and did not constitute,

and were not derived from, "proceeds obtained directly or indirectly as a result of' the offense to

which Young pied guilty. The transcript of Mr. Young's February 13, 2018 Change of Plea hearing

before this Comt confirms there was no mention of these pools of money nor any facts proffered

or presented to suppmt their forfeiture by Mr. Young to the U.S. Government. As relevant here,

the identified pools of money included over $6.2 million in funds held in Petitioners' bank accom1ts

at BMO Harris Bank and Avidia Bank and funds which had been transfen-ed from Petitioners'

accounts at Union Bank to this Court's registry pursuant to an October 18, 2017 Order of this


2
  It is an improper use of the bill of particulars vehicle to file a bill of pa1ticulars after the criminal defendant already
has pied guilty in an attempt to initiate judicial forfeiture proceedings against unrelated third parties and their property.
See United States v. Murray, 297 F.2d 812, 819 (2d Cir. 1962) ("The function of a bill of pa1ticulars is to enable the
accused to prepare for trial and to prevent surprise[.]"); United States v. GAF Co,p., 928 F.2d 1253, 1260 (2d Cir.
1991) ("The[] purpose [of bills of particulars] is to inform a defendant of charges with sufficient precision to allow
preparation of a defense, to avoid unfair surprise, and to preclude double jeopardy. A bill of particulars is a statement
of what the governrnent will or will not claim in its prosecution.") (citing Mu,ray) (additional citations omitted).


                                                             I
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Court ("PacNet Accounts"). In violation of the terms of a September 19, 2017 Settlement

Agreement the Government reached with PacNet, the Government seized the funds in this Comt's

registry. Pursuant to that settlement, the Government directed that PacNet, as a disinterested

stakeholder, would interplead funds contractually owed to certain former clients. The Government

further issued a federal license authorizing PacNet through its counsel to transfer the funds to the

Comt's registry. Furthe1more, this Court on October 18, 2017 pursuant to an unopposed motion

determined that the facts warranted the establishment of an Inte1pleader Fund and approved PacNet

to transfer the funds.           PacNet complied with its September 19, 2017 Agreement and the

Government's directive and license by instituting the interpleader action in this Comt.

           More than a year and a half later and without notice, the Government in September 2019

moved to forfeit the prope1ty identified in the bills of particulars, including the PacNet Accounts

Dkt. 14. The Government's motion was three sentences long and requested that the Court "so

order" the proposed Preliminary Order attached to the motion, in which Young consented to a $1.5

                                                                                                                        3
million forfeiture money judgment and to forfeit ce1tain property as set fo1th in the Order. Id

The Court granted the motion on the following day without providing PacNet with any notice or

opportunity to be heard. Dkt. 15. The Comt made no revisions to the proposed Preliminary Order

submitted by the Govermnent, nor did it make any independent findings. Id Critically, the Order

made no findings either that: (1) Mr. Young had any interest in the PacNet Accounts; or (2) that

any funds in those accounts constituted proceeds traceable to the criminal activity to which Mr.

Young pied guilty. See Preliminary Order. Nor was there any factual predicate elsewhere in the

record to support such findings.




3 By   seeking to forfeit $6.2 million in PacNet funds to which Young has no access, interest, or control, the Government
seeks to take a third party's property in over four times the amount of the forfeiture money judgment against the
criminal defendant himself.


                                                            2
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           In relation to the Petitioners' bank accounts and the interpleader funds deposited in the

Court registry and referenced at paragraphs (c) through (g) ofthe Preliminary Order (the "Forfeited

Funds"), the Order was improper and should be amended for the following principal reasons:

           First, the Government failed to present and prove the PacNet Accounts are subject to

forfeiture and the requisite nexus-that the funds in these accounts constitute proceeds of

conspiracy to commit mail fraud by Ryan Young and directly traceable to that fraud. In sum, the

Preliminary Order is invalid on its face because there were no findings sufficient to support the

forfeiture of the PacNet Accounts. The Government has failed to proffer any facts-let alone

prove-that Defendant Ryan Young had any interest in the accounts, that the funds were proceeds

of his criminal activity, and that he obtained. This is a fatal defect and warrants amending the order

to release those accounts. See United States v. Watts, 786 F. 3d 152, 172 (2d Cir. 2015) ("Federal

Rule of Criminal Procedure 32.2(b )(1) ... requires the sentencing court to determine what property

is subject to forfeiture under the applicable statute."') (emphasis and ellipsis in original) (quoting

United States v. Capoccia, 503 F.3d 103, 109 (2d Cir. 2007)). Due process, federal rule and statute,

and judicial estoppel 4 entitle Petitioners to challenge that defect under these circumstances in this

ancillary proceeding, particularly in light of the Government's effo1t to forfeit property to which

Petitioners indisputably hold exclusive title based on the mere "consent" of a criminal defendant

with no interest in that property. See United States v. Daugerdas, 892 F.3d 545, 557 (2d Cir.

2018). 5


4
  See United States v. Liquidators of European Federal Credit Bank, 630 F.3d 1139, 1148-49 (9th Cir. 2011)
(exercising discretion, based on Government's "sleight of hand" in seeking to prevent Petitioner from raising
arguments in ancillary proceeding, to "hold that judicial estoppel bars the government from arguing that [Petitioners]
cannot raise its legal claims challenging forfeitability").
5
  Federal Rule of Criminal Procedure 32.2 provides that the "government must publish notice of the order and send
notice to any person who reasonably appears to be a potential claimant with standing to contest the forfeiture
in the ancillaiy proceeding." Fed. R. Crim. P. 32.2(b)(6) (emphasis added). The Government has been on notice of




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         Second, Petitioners' vested and superior interest in the accounts "renders the order of

forfeiture invalid" as to that property. 21 U.S.C. § 853(n)(6)(A). The Government may only forfeit

"property, real or personal, which constitutes or is derived from proceeds traceable to" ce1tain

federal crimes, 18 U.S.C. § 98l(a)(l)(C), or which is "prope1ty of the defendant," forfeitable as

substitute prope1ty under 21 U.S.C. § 853(p). Here, Petitioners had exclusive "legal right, title, or

interest" in the funds which was vested and "superior to any right, title, or interest of the

defendant," Ryan Young, "at the time of the commission of the acts which gave rise to the

fotfeiture of the property" or at any other time. Id. Indeed, Mr. Young has never had any right,

title, or interest in the Forfeited Funds. The Government offered no facts or evidence to identify

any nexus between the accounts and Mr. Young's criminal activity. Moreover, as the Supreme

Couit recently reiterated, forfeiture "is limited to property the defendant himself actually acquired

as the result of the crime," and joint-and-several forfeiture liability is impermissible. Honeycutt v.

United States, 137 S. Ct. 1626, 1634 (2017). Thus, the Preliminary Order presented by the

Government violates the federal forfeiture statutes, U.S. Supreme Court precedent, and the Federal

Rules of Criminal Procedure and, therefore, should be amended to provide for the release

Petitioners' property.

         Third, the Govemment should be judicially estopped from forfeiting Petitioners' accounts

and the interpleader account because the Govermnent expressly agreed, directed, and licensed that

the funds be used in an inte1pleader proceeding pending in this Court-not seized and forfeited

without notice to Petitioners. In reliance, the Petitioners then filed a motion with this Court which



Petitioners' interest in all of the PacNet Accounts since their seizure but has provided no explanation for its failure.
The Government also failed to comply with any of the procedures outlined in 21 U.S.C. § 853(e) to restrain Petitioners'
property prior to seeking to forfeit their property in this criminal proceeding. See, e.g., Kaley v. United States, 571
U.S. 320, n.2 (2014) ("The forfeiture statute itselfrequires a hearing when the Government seeks to restrain the assets
of someone who has not yet been indicted.") (citing 21 U.S.C. § 853(e)(l)(B)).



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was unopposed by the Government. The Court then made appropriate factual determinations and

ordered the establishment of an interpleader fund into which the Petitioners were approved to

submit the funds. Pursuant to that Order, the Petitioners then transfe1Ted their assets into the

interpleader fund within the Court's registry.

         Fourth, the Preliminary Order and the Government's actions violate the Constitution's Due

Process Clause. Not only has the Government failed to provide PacNet with adequate notice and

opportunity to respond to the Government's attempts to forfeit PacNet's property, it would violate

key Constitutional principles for the Government to criminally forfeit the property of an entity that

has been neither indicted nor convicted. 6

         Fifth, even to the extent that the Government could reach Petitioners' prope1ty in this

criminal prosecution and in personam forfeiture (and it cannot), the Government would be limited

to the total amount of the $1.5 million money judgment entered against Defendant Young minus

the amounts already paid and credited to satisfy that judgment. As detailed below, this Court has

found, based on the Govermnent's submission and agreement with defendant Young, that the total

amount of defendant Young forfeiture liability is $1,500,000, of which just $290,626.57 still

outstanding and represents the upper limit of what the Government is entitled to seize from the

PacNet Accounts even if it could demonstrate they were subject to forfeitme, defendant Young

had a prope1ty interest in and had obtained the funds, and the Petitioners did not have a vested,

superior interest.

        For these reasons and those explained in greater detail below, PacNet respectfully requests

that the Court strike paragraphs (c) through (g) of the Preliminary Order and direct that the funds



6
  It additionally constitutes an excessive fine and double jeopardy to forfeit PacNet's property as the Government
previously has imposed unlawful punishment upon PacNet, resulting in the closing and tennination of a lawful,
registered, and regulated commercial financial services business.


                                                        5
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identified in those sections be deposited in the inte1pleader account maintained in the Court's

registry in PacNet Services Ltd. v. Office of Foreign Assets Control of the United States Dep 't of

Treaswy, et al., Case No. 17-cv-6027 (E.D.N.Y.) in sufficient amount to satisfy the terms of the

Government's September 2017 agreement with PacNet and that any remaining funds be returned

to the Petitioners. The Government also should be permanently enjoined from re-seizing the funds.

IT.    FACTUALBACKGROUND

       A.      PacNet

       From its inception in 1994 to September 2016, PacNet operated a leading international

payment processing business with headquaiters in downtown Vancouver, British Columbia.

PacNet offered merchants around the world payment solutions involving credit card, electronic

payment, direct debit, and check processing services.

       PacNet Services boasted a roster of more than 700 clients, including well-respected

companies and organizations such as Bloomberg Business Week, MasterCard Payment Gateway

Services Client Finance, the Catho lie Archdiocese of Durban, Dementia Research UK, Animals

Asia Foundation Limited, Special Olympics British Columbia Society, and iATS Payments LLC

(through which PacNet processed payments for dozens of charities and community organizations).

A relatively small percentage of PacNet Services' business pe1tained to merchants that distributed

direct-mail promotions involving sweepstakes repmts or astrological information.

       In addition to PacNet Services, other companies that fom1ed the PacNet Group included

Chexx and Accu-Rate. Chexx was not a payment processor which accepted and processed

incoming payments. Instead, Chexx's business was as an outbound payment processor, involving

the payment of refunds, rebates, reimbursements, prizes, and other payments at the direction of or

to customers. Among Chexx's clients were leading international companies such as Decision




                                                6
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Analyst, Neilsen Netratings, Payoneer Inc and Global Market Insite. Chexx did not process

incoming payments for any clients.

        Accu-Rate was a foreign exchange business, having operated in the city of Ottawa within

Canada for more than 20 years prior to September 2016. From its two branches it served up to 600

retail clients per day, including local businesses, individuals, and large numbers of foreign

diplomats including many employees of the U.S. Embassy. Accu-Rate did not process check or

credit card payments for any clients of PacNet Services, including any direct mail clients. Accu-

Rate purchased cash from individuals and other businesses on a daily basis, and it often purchased

cash from clients of PacNet Services. In all instances, Accu-Rate filed appropriate reports with the

Financial Transactions and Reports Analysis Centre of Canada ("FINTRAC''), including

suspicious transaction reports (' STRs") and large cash transaction repmts ("LCTRs"). In addition,

Accu-Rate acted to ensure that its courier, the internationally respected Brinks Global Services,

filed appropriate repmts with the Canada Border Services Agency, including the E667 or Cross-

Border Currency or Monetaiy Instrnments Repo1t disclosing the transportation and irnpo1tation of

certain cash amounts into Canada.

       For more than 20 years, PacNet was a fully licensed and heavily regulated business which

operated openly, transparently, and honestly; employed approximately 125 persons in Canada and

Europe, and cooperated with law enforcement agencies. PacNet was audited regularly and

frequently by the Canadian government, major financial institutions, and independent

auditors/accountants. PacNet employed professional compliance staff and well-respected outside

auditors.

       Fmthermore, at all relevant times, PacNet was a registered and regulated money services

business. In Canada, PacNet was registered with FINTRAC, which is part of the Canadian Ministly




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of Finance. As a registered and regulated company, the PacNet Group was subjected to periodic

on-site examinations and reviews of its operations, reporting, and recordkeeping by FINTRAC in

relation to compliance with Canadian anti-money laundering ("AML") laws and regulations.

Those examinations involved review of the PacNet Group's rep01ts to FINTRAC and bank account

records. The PacNet Group regularly filed reports with FINTRAC, including STRs, LCTRs, and

electronic funds transfer rep01ts ("EFTRs"). The PacNet Group filed reports specifically notifying

FINTRAC of suspicious transactions and large cash transactions involving companies owned or

controlled by Ercan (John) Barka and, according to information provided by the United States, by

Ryan Young. In the United States, PacNet Services was registered with the Financial Crimes

Enforcement Network ("FinCEN"), which is part of the U.S. Department of Treasury. In

compliance with regulations of FinCEN, PacNet Services submitted suspicious activity rep01ts

("SARs") and currency transaction reports ("CTRs") with FinCEN.

        B.        OFAC's Unlawful September 2016 Designations

         On September 22, 2016, without prior notice, waming, or opportunity to be heard, the

Office of Foreign Assets Control ("OFAC") of the U.S. Department of the Treasury designated

PacNet, its subsidiaries, and its affiliates (together, the "PacNet Group") as a significant
                                                                                                                    7
transnational criminal organization ("TCO"), thereby effectively ending PacNet's business. At

the time, the Executive Order by President Obama pe1mitting TCO designations expressly limited

that designation to multinational criminal organizations "such as" The Brothers' Circle, Camorra,

Yakuza, and Los Zetas. Executive Order 13581 (July 24, 2011).


7 See No. 17-CV-6027 (E.D.N.Y.) ("OFAC Interpleade1"), Dkt. I, ,r,r 3-5. Many of the facts surrounding OFAC's
designation of PacNet are discussed in more detail in the pleadings and additional documents filed by PacNet in the
OFAC Interpleader-which is also pending before this Court. Thus, this Petition incorporates by reference to
documents already on file with the Court in that matter. PacNet will not inundate the Court with copies of those
already-filed papers at this time, but it stands ready to provide additional copies of those papers at the Court's request
and asks that the Cami take judicial notice of them.



                                                            8
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           Despite the limited permissible scope of the TCO designation, OFAC's designation of the

PacNet Group rested on allegations that it had engaged in money laundering when it processed

payments on behalf of alleged mail fraud schemes aimed at U.S. residents. 8 Prior to September 22,

2016, neither PacNet nor its affiliates, directors, or officers had ever been accused-much less

charged and convicted----of any criminal offense arising from its business activities. 9 To the

contrary, in connection with the U.S. Department of Justice's ("DOJ's") investigation of direct

mailers prior to the September 2016 designations, a DOJ prosecutor assured counsel for PacNet

that PacNet was not a target ofDOJ's mail fraud investigation, which ultimately resulted in civil

and criminal actions against various other entities. In fact, that prosecutor stated in an e-mail dated

May 26, 2015 that he "appreciate[d] PacNet's cooperation with [the] investigation and [its]

willingness to voluntarily produce records." OFAC Interpleader, Dkt. 139-6, ,r 7 & Ex. D.

          The immediate legal impact of the OFAC designation was twofold: (i) a block was placed

on all property and interests in property of the PacNet Group and all designees subject to United

States jurisdiction, and (ii) all "United States persons," as defined in Executive Order No. 13581,

were prohibited from transacting business with the designees. OFAC Interpleader, Dkt. 1, ,r 4. The

practical effect of the designation was devastating. Nearly all financial institutions, insurers, and

other businesses--even those without any connection to the United States or any United States

person--denied the PacNet Group access to bank accounts, insurance, and property that the PacNet

Group needed to conduct business. Id. Thus, the PacNet Group was forced to cease operations and


8
    Press Release, Treasury Sanctions Individuals and Entities as Members of the PacNet Group (Sept. 22, 2016),
available at https://www.treasmy.gov/press-center/press-releases/Pages/jl5055.aspx (last visited Nov. 6, 2019).

9
  To this date, the U.S. Government has never brought any criminal charges against PacNet or any affiliate entities.
And, it has been publicly reported in a March 2019 report released by the Attorney General of British Columbia,
Canada that the Canadian government has declined to prosecute PacNet due to insufficient evidence. Following that
declination, however, the U.S. Government charged certain individual PacNet employees and officers with mail fraud
and wire fraud in an indictment filed in June 2019 in the District of Nevada. See United States v. Day et al., No. 2:19-
cr-155 (D. Nev.).


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wind down its business, id. ,i 5, but lacked the legal and practical ability to return funds it was

holding on behalf of all of its clients, especially as the United States had stated that it believed

cettain PacNet clients were engaged in fraud or money laundering.

         The OFAC designation was ill-considered, incotTect, and contrary to law. Id. ,i,i 6, 38-53.

Rather than constituting a national security emergency measure as required by federal law, PacNet

believes that the designation was patt of a coordinated government effort by OFAC with the United

States Postal Inspection Service ("USPIS") and DOJ to coerce cooperation by PacNet in a criminal

investigation and put it out of business by holding it to answer to the public branding and

designation as a "criminal" or a "significant TCO" without due process oflaw. 10 The investigation

leading to the OFAC designation was marred by impropriety, incompleteness, and a failure to

consider contrary and strongly exculpatory facts readily available to, and in the possession of, the

United States Government. Id. ,i,i 6, 30-37.

        C.       OFAC's Rescission of the Unlawful Designations, and the Execution of the
                 September 2017 Agreement

        PacNet and its employees petitioned OFAC to be removed from OFAC's Specially

Designated Nationals and Blocked Persons List (the "SDN List"). From February 2017 through

August 2017, OFAC rescinded the designations of nine employees and officers and removed them

from the SDN List. Id. But the PacNet Group's continued inclusion (along with that of three

employees and officers) on the SDN List prevented the PacNet Group from dissolving and

formally closing its business.

        In May and through the summer of 2017, OFAC infonned the PacNet Group that it would

only rescind the designations of the PacNet Group and remaining individuals if the PacNet Group


10
   Indeed, the Treasmy Department's press release stated that "OFAC closely coordinated today's action with the
Consumer Protection Branch of the Department of Justice and the U.S. Postal Inspection Service."
https://www.treasmy.gov/press-center/press-re1eases/Pages/jl5055.aspx.


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agreed to (i) waive any claim for monetary damages against OFAC and (ii) submit funds

contractually owed to certain former clients to an inte1pleader or escrow account where the

competing claims of OFAC/the United States Government and the former clients could be

contested. Id.   ,r,r 9, 54.
        In light ofOFAC's position and inaction to rescind the final designations, OFAC and the

PacNet Group entered into an agreement on September 19, 2017. OFAC Interpleader, Dkt. 139-6,

,r 4 & Ex. A. Under the Agreement, OFAC promised to remove the PacNet Group, its subsidiary
companies, and three individuals from the SDN List subject to certain terms and conditions. OFAC

Interpleader, Dkt. 1, ,r 10. In addition to waiving any claims to monetary damages against OFAC,

PacNet was contractually required to provide OFAC with a list of PacN et' s outstanding debts and

liabilities to former clients. Id.   ,r 55. On September 19, PacNet complied with the Agreement and,
inter alia, provided the Government with a list of all outstanding balances/transactions and a list

of all its bank accounts, including accounts in the United States at Union Bank, Avidia, and BMO

Harris. Dkt. 139-6, ,r 8.

        OFAC, the DOJ, and other agencies of the U.S. Government then examined PacNet's

submissions, including its bank account information. OFAC Interpleader, Dkt. 1, ,r 20. On October

6, 2017, OFAC stated specifically: "OFAC has identified and hereby represents to PacNet that a

reasonable factual basis exists to believe that certain proposed transactions disclosed by PacNet

pursuant to [the Agreement] involve the proceeds of fraud or money laundering allegedly

committed by certain PacNet clients." Id.      ,r 56; OFAC Interpleader, Dkt. 139-6, Ex. B. Attached
to that letter was a list of former PacNet clients and associated account balances selected by OFAC

in consultation with the DOJ and others within the Government. OFAC further "direct[ed] PacNet

to initiate the transfer of the funds" pursuant to the Agreement and provided a mandatory license




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"which authorize[d] PacNet to engage in all transactions necessary to transfer the identified funds

into one or more interpleader accounts of the United States District Court for the Eastern District

of New York." OFAC Interpleader, Dkt. 139-6, Ex B at 1 & Ex. C § I, at 2; see also OFAC

Interpleader, Dkt. 1, ,i,i 56-57.

        OFAC expressly contemplated, consented to, directed, and licensed the filing of the OFAC

Interpleader, and it even specified that it be filed in the U.S. District Cou1t for the Eastern District

of New York. Specifically, OFAC directed and agreed:

       In the event that OFAC identifies and represents to the PacNet Group that a
       reasonable factual basis exists to believe that a proposed transaction involving any
       client of the PacNet Group disclosed pursuant to paragraph A.2 involves the
       proceeds of fraud or money laundering allegedly committed by the client and
       provides the PacNet Group with written notification of that determination ... the
       PacNet Group agrees ... to inte1plead those funds in the United States District
       Court for the Eastern District a/New York. Through the inte1pleader action or the
       deposit with the escrow agent, PacNet will provide a list to the United States
       Attorney's Office for the Eastern District ofNew York listing the following/or each
       transaction OFAC identifies and for which PacNet transfers fonds pursuant to
       OFAC's direction consistent with this agreement: (i) the PacNet client associated
       with the transaction; and (ii) the amount of fonds transferred related to the
       transaction. PacNet accepts the representation by OFAC as sufficient to indicate
       to PacNet that a dispute exists as to the identified fonds and PacNet will therefore
       inte1plead or deposit the money in escrow until the dispute can be resolved. The
       patties agree that the interpleader or deposit of any funds into escrow is not an
       admission that any funds are proceeds of fraudulent conduct or money laundering
       or that PacNet had any involvement in or knowledge of any fraudulent conduct or
       money laundering....

OFAC Interpleader, Dkt. 139-6, Ex. A at A.7 (emphasis added). Although the Agreement

contained a specific waiver of claims against OFAC (see Ex. A at A.8), PacNet and OFAC

expressly carved out the OFAC Inte1pleader from that waiver. The Agreement provides: "PacNet

and the individual petitioners maintain and do not waive any tight to file or bring an action or

claim against OFAC ... (ii) in the f01m of an interpleader action pursuant to 28 U.S.C. § 1335 and

Fed. R. Civ. P. 22 as contemplated under paragraph A.7 above." Id.




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           In addition to consulting with the DOJ, OFAC involved the U.S. Attorney's Office for the

Eastern District of New York directly in the September 2017 Agreement and the OFAC

Interpleader. As indicated in the above-quoted passage, PacNet was required to and did provide a

list to the U.S. Attorney's Office of the PacNet clients and amounts of funds transfe1Ted to the

interpleader fund. PacNet fu1ther agreed in the September 2017 Agreement that the representation

by OFAC of the Government's claim was sufficient proof of competing claims to move fmward

with the OFAC Interpleader. Id. atA.7. On October 6, 2017, OFAC issued a specific license which

was necessary under federal law to authorize PacNet to transfer funds from its accounts to the

"interpleader accounts of the United States District Comt for the Eastern District of New York, as

described in the [September 19, 2017] Agreement" OFAC Interpleader Dkt. 2-1, Ex. A.

           D.     The Interpleader Action

           Pursuant to OFAC's October 6, 2017 direction and license, PacNet on October 16, 2017

filed an interpleader action ("OFAC Interpleader") to initiate the transfer of contested funds and

to bring all actual and potential claimants before the Court so that they may have an opportunity

to assert their interests in the subject funds and obtain a judicial determination on their claims.

OFAC Interpleader, Dkt. I. Based on contractual obligations to clients and the prospect that

making payment to those clients would conflict with federal law and claims of the United States,

PacNet reasonably feared the results of competing claims and obligations to the interpleader fund.

For that reason, initiating the OFAC Inte1pleader was necessary to discharge the PacNet Group's

debts and liabilities to all interested parties and to eliminate any risk that PacNet or any companies

within the PacNet Group or current or former employees or officers of the PacNet Group will be

subject to inconsistent rulings concerning the disposition of the interpleader fund or any portion

thereof.




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         On October 16, 2017, PacNet also filed a motion for leave to deposit $5,220,855.08 USD

into the Comt registry, which the Government did not oppose. OF AC lnterpleader, Dkt. 2. On

October 18, 2017, Judge Garaufis granted PacNet's unopposed motion. See OFAC Interpleader,

Dkt. 7. Judge Garaufis found, "based on the record," that (1) PacNet had provided sufficient notice

to all defendants, (2) the "competing claims to the funds made them subject to an interpleader

action under 28 U.S.C. § 1335," and (3) the Government had "granted a license authorizing PacNet

and its subsidiary and affiliate companies" to transfer "the lnterpleader Fund into the Court

registry." Id. at [1]. Judge Garaufis's Order specifically stated that "[t]he PacNet Group is

authorized to transfer funds from BMO Han-is Bank, Union Bank, and/or any other necessary

financial institution or account to the registry of the Court, and may do so through one or more

transactions." Id. at 2. The Order also directed "[t]he Clerk of the Court ... to deposit the total

amom1t of $5,220,855.08 USD tendered by PacNet in a manner consistent with the Comt's

findings regarding the nature of the Funds above[.]" Id.

         Pursuant to Judge Garaufis' Order, on or about November 8, 2017, Union Bank wired

$2,671,335.59 to the Clerk of Court to be deposited into the Court registry. However, on April 5,

2018, the Government provided notice to the Comt and to PacNet that it had seized those very

funds from the Court registry. See OFAC lnte1pleader, Dkt. 137. Those funds now are subject to

the Comt's Preliminary Order and are expressly identified as item (g).

         In addition to those Union Bank funds deposited in the Court registry, the Government

seized PacNet's funds at BMO Harris and Avidia Banks without PacNet's knowledge pursuant to

ex parte seizure warrants that federal prosecutors obtained in this District. 11 By letter dated


11 Those funds represent items (d) through (f) of the Preliminary Order. PacNet also contests the seizure and forfeiture
of paragraph (c), which represent its funds from BMO Hanis Bank which were seized on September 20, 2016-
concurrent with the initial OFAC designations-as Defendant Young has likewise never held title to those funds.




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November 8, 2017, Assistant U.S. Attorney Tanisha R. Payne notified counsel for P_acNet that a

total of $2,631,085.14 USD had been seized from various PacNet-related bank accounts pursuant

to ex parte seizure warrants issued by this Comt. See OFAC Inte1pleader, Dkt. 139-6, ,i 9 & Ex. E

(Letter from Tanisha R. Payne, Assistant U.S. Att'y, Dep't of Justice, to George R. Calhoun, Ifrah

PLLC (Nov. 8, 2017))._The letter specifies that (i) $1,503,251.39 USD was seized from account

ending in -0703 held at BMO Harris (now item (d) of the Preliminary Order); (ii) $765,611.07

USD was seized from account ending in -3306 held at BMO Harris (now item (e) of the

Preliminary Order); and (iii) $362,222.68 USD was seized from account ending in -5257 held at

Avidia Bank (now item (f) of the Preliminary Order). Id. Ms. Payne's November 8, 2017 Letter

omitted reference to the Government's earlier seizure of funds from BMO Harris Bank in

September 2016, as to which PacNet never received any formal notice, and which, like all of the

other funds at issue in this Petition, is subject to the Preliminary Order (see paragraph (c)) despite

Young having never held title to or control over the funds. Id.

         In total, the Government has seized over $6.25 million from PacNet and now seeks to

forfeit those funds pursuant to paragraphs (c) through (g) of the Prelimina1y Order. That $6.25

million is well more than is needed to completely fund the interpleader account (valued at

approximately $5.2 million), as contemplated by the September 2017 Agreement between PacNet

andOFAC.

         Not only did the Government surreptitiously seize PacNet's funds, it has also failed to

afford PacNet appropriate due process and has attempted to forfeit the funds by citing them in bills

of particulars in criminal proceedings. Indeed, the Government ultimately identified PacNet's




Certain of the bank accounts were held in the name of PacNet Services Ltd., while others were held by its subsidiary,
Chexx.




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seized funds in bills of particnlars in two criminal proceedings against criminal defendants who

already had pied guilty: Ryan Young 12 and Ercan Barka, 13 a criminal defendant whose matter is

proceeding separately before this Court. Neither Mr. Young nor Mr. Barka have ever worked for,

or on behalf of, PacNet. Although Mr. Young and Mr. Barka may have a potential contractual

claim as creditors of PacNet, they never controlled or held title to any PacNet accounts. The

Government has not charged or named PacNet (or any of its associated companies) as a co-

conspirator in the criminal actions against either of the men. That is the case even though the

Government has long been aware that Mr. Barka and Mr. Young's companies had been PacNet

clients. PacNet was identified as having provided payment services to companies affiliated with

both in a civil complaint filed by the Govemment in May 2017. United States v. Barka et al., 1:16-

cv-05266 (E.D.N.Y. May 31, 2017), Amended Complaint.

           Indeed, far from conspiring with Young and Barka, beginning in at least August 2012, the

PacNet Group submitted Suspicious Transaction Repo1ts and other reports with the Canadian

government revealing the conduct of Ercan Barka or companies allegedly operated or controlled

by him and co-conspirators. STRs are the Canadian equivalent of a Suspicious Activity Reports

("SARs") filed with the U.S. Treasury Department's FinCEN. PacNet filed STRs in relation to the

conduct of Barka with FINTRAC, a Canadian federal govemment regulator. Such disclosure of

information to the government would necessarily defeat a claim of criminal conspiracy. See, e.g.,

United States v. Steele, 685 F.2d 793, 801 (3d Cir. 1982) ("as a matter oflaw" an entity could not

be a member of a conspiracy where it disclosed the alleged conspiracy to law enforcement

officials).


12 See Bill of Particulars, Dkt. 11.

13
     See United States v. Barka, No. 2:18-cr-00031-JMA (E.D.N.Y. filed Mar. 26, 2018), Dkt. 33.



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        E.      Current Procedural Posture of the Interpleader Action

        With the above factual background in mind, PacNet provides a brief procedural history

summarizing the OFAC Interpleader still pending before this Court as Case No. l 7-cv-6027.

        More than a year before this Court's assignment to the OFAC Interpleader and in response

to an unopposed motion, Judge Garaufis entered the Interpleader Deposit Order on October 18,

2017, directing the deposit of $5 .2 million into a Comt interpleader account, according to the te1ms

of the September 19, 2017 Agreement and the October 6, 2017 specific license and direction of

the Treasury Department. Despite expressly agreeing to and directing the interpleader process, the

U.S. Government within days of the September 19 Agreement acted secretly to prevent the

enforcement of Judge Garaufis's Interpleader Deposit Order by: (1) seizing approximately $2.6

million of those funds via an ex parte seizure warrant before they could be deposited in the Comt

registry; and (2) subsequently seizing-also via an ex parte warrant without notice and opportunity

to be heard-the remaining $2.6 million that PacNet already had deposited in the Court registry.

       The Government also has attempted to inte1fere with Judge Garaufis' s Inte1pleader Deposit

Order by moving to dismiss the interpleader action, even though the Government developed the

idea for, agreed in writing to, and directed the initiation of the proceeding. To cloud matters fmther,

the U.S. Attorney's Office for the Eastern District of New York sometimes claims to solely

represent OFAC and at other times claims to represent the "United States." Compare OFAC

Inte1pleader Dkt. 139-1, with OFAC Interpleader Dkt. 139-8. Such posturing begs tl1e question

posed by Judge Garaufis at the February 9, 2018 hearing: "[A]re there two governments here?"

OFAC Interpleader, Dkt. 136 at 5:15-16.

       The following motions in the OFAC Interpleader-which necessarily involve the same

issues underlying the instant Motion-have been fully briefed and pending since the spring and

summer of 2018. In light of the Gove1mnent's actions to interfere with Judge Garaufis's


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Interpleader Deposit Order and the pendency of these motions, the OFAC Inte1pleader has been

unable to proceed.

            a. U.S. Depaiiment of Treasury's Motion to Dismiss for Lack of Subject Matter
               Jurisdiction (Fully Briefed on April 5, 2018 (OFAC Jnterpleader, Dkt. 139))

            b. PacNet's Cross Motion to Compel the United States to Comply with Interpleader
               Deposit Order (Fully Briefed on April 5, 2018 (OFAC Interpleader, Dkt. 139))

            c. PacNet's Motion for Order to Show Cause Why U.S. Depa1iment of Treasury
               Should Not Be Held in Contempt (Fully Briefed on July 9, 2018 (OFAC
               Inte1pleader, Dkt. 158))

            d. International Payout's Motion to Join Motion for Order to Show Cause (Fully
               Briefed on July 30, 2018 (OFAC Inte1pleader, Dkt. 161))

Resolution of those four motions in the OFAC Inte1pleader-along now with the instant Petition-

is necessary to ensure both that the OFAC Interpleader proceeds properly and efficiently, but also

necessary to give effect to Judge Garaufis's October 18, 2017 Interpleader Deposit Order and to

end the Government's abuse of the forfeiture process. This abusive conduct also constitutes a

denial of due process because the proposed forfeiture would allow the Government to impede and

obstruct another agency of the U.S. Government, the U.S. Department ofTreasmy, agreement to

the interpleader action-an agreement the U.S. Depattment of Justice reviewed and approved.

       F.      Summary of PacNet Accounts Seized by U.S. Government

       As discussed herein, leading up to the Prelimina1y Order, the Govermnent seized funds

from PacNet bank accounts staiting in September 2016, all the way through its seizure of funds

from this Coult' s interpleader fund in December 2017. The following table summarizes the seized

funds, identified by individual bank account, co1Tesponding PacNet Group company, date of

seizure, and related item in the Preliminaiy Order:




                                                18
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  BMO Harris Bank
                           PacNet Services             $963,205.14        September 20, 2016    (c)
  -#xxx0703
  BMO Han·is Bank
                           PacNet Services             $1,503,251.39      September 22, 201 7   (d)
  -#xxx2949
  BMO Harris Barile
                            Chexx                      $765,611.07        September 22, 2017    (e)
  - #xxx3306
  Avidia Bank -
                           PacNet Services             $362,222.68        September 22, 2017    (t)
  #xxxx5257
  UnionBank-
                           PacNet Services
  #xxxxxx0401
  UnionBank-
  #xxxxxx3328              Chexx                       $2,671,335.59
>--U-n-io_n_B_a_nk
               __- - - - - + - - - - - - - - - - 1     (seized together
  #xxxxxxl                 Chexx                       from Court's       December 12, 2017     (g)
               635
>--U-n-io_n_B_a_nk
               __- - - - - + - - - - - - - - - - - <   interpleader
  #xxxxxx0527              Chexx                       registry)
 UnionBank-
                           Accu-Rate
 #xxxxxx8176

         At all relevant times prior to the Government's seizure, the funds maintained in the above

listed bank accounts were owned, controlled, maintained, and used exclusively by the PacNet

Group (with the exception being the Union Bank funds that were transferred into the Comt's

interpleader fnnd on or about November 8, 2017, pursuant to the Interpleader Deposit Order). The

sole signatories to these accounts are PacNet employees. No client of the PacNet Group held any

access to, dominion or control over, or propeity interest in, any of the funds maintained in these

accounts. Moreover, Brean Barka, Ryan Young, and the companies they are affiliated with never

had any interest in or control over these accounts at any time. Indeed, only employees of the PacNet

Group had access to and dominion or control over these accounts, and the funds were only used

for lawful PacNet business.

        Moreover, multiple of the bank accounts and funds at issue bore no relationship to nor

would have ever received funds related to PacNet clients that distributed direct-mail promotions

involving sweepstakes repmts or astrological information. For example, as discussed in Section



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II.A, supra, because the Accu-Rate account was related to Accu-Rate's foreign exchange business,

none of the funds in that account could have had any relationship to defendant Young's criminal

activity. Additionally, the BMO Harris account ending in -2949 was a collateral account held at

the request of BMO HaITis Bank to serve as collateral for BMO Hanis Bank in relation to ACH

credits and debits processed by BMO Harris Bank on behalf of PacNet Services. 14 A commercial

bank such as BMO Harris Bank commonly requires business customers using the ACH Network

to maintain a collateral account which serves to provide security for any credit extended by a

commercial bank in relation to its handling of ACH transactions for the business customer. PacNet

Services did not transfer operational funds to or from this account in relation to its regular, daily

business operations. Funds were maintained in this account by PacNet Services to serve as

collateral or security in relation to the processing of payments by BMO Harris Bank through the

ACHNetwork.

III.       ARGUMENT

           The Government's failure to satisfy its obligation to demonstrate the forfeitability of the

PacNet Accounts, Petitioners' exclusive and superior title to those accounts, and due process

violations committed by the Government render paragraphs (c) through (g) of the Preliminaty

Order invalid. Accordingly, for all the reasons set forth below, Petitioners move the Comt to vacate

those paragraphs and order the property identified in those paragraphs deposited in the interpleader

account maintained in the Court's registry in Case No. l 7-cv-6027 (E.D.N.Y.) in sufficient amount

to satisfy the terms of the Government's September 2017 agreement with PacNet and that any

remaining funds be returned to the Petitioners.


14   ACH is a reference to an automated clearing house (ACH) or electronic network used by financial institutions
around the world to process the exchange of electronic transactions between participating financial institutions. In the
United States, a principal ACH is the ACH Network of the National Automated Clearing House Association
("NACHA")


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        A.     The Preliminary Order of Forfeiture is Invalid and Cannot Support Forfeiture
               of the PacN et Accounts

        The Government has failed to present and prove the PacNet Accounts are subject to

forfeiture and the requisite nexus-that the funds in these accounts constitute proceeds of

conspiracy to commit mail fraud by Ryan Young and directly traceable to that fraud. In sum, the

Preliminary Order is invalid on its face because there were no findings to support the forfeiture of

the PacNet Accounts. The Government failed to proffer a single fact-let alone prove--that

defendant Ryan Young had any interest in the accounts or that the funds were proceeds of his

criminal activity. This is a fatal defect and wa1nnts amending the order at this time to release those

accounts. See Watts, 786 at 172 ("Federal Rule of Criminal Procedure 32.2(b)(l) ... requires the

sentencing court to determine what property is subject to forfeiture under the applicable statute."')

(emphasis and ellipsis in original) (quoting Capoccia, 503 F.3d at 109).

       The Preliminary Order is invalid on its face because it fails to include the required findings

that: (1) defendant Young had a property interest in the PacNet accounts; (2) there was any factual

predicate establishing any nexus between the criminal activity underlying defendant Yow1g's

conviction; and (3) defendant Young obtained the funds. See Preliminary Order; Fed. R. Crim. P.

32.2; Honeycutt, 137 S.Ct. at 1632 (noting that "[i]n addition to limiting forfeiture to tainted

prope1ty, 853(a) defines forfeitable prope1ty solely in tenns of personal possession or use").

Although the Govenunent enjoys significant forfeiture powers, those powers are not unlimited. A

defendant may be compelled to give up the fruits of their offense, ensuring that "crime does not

pay." United States v. Monsanto, 491 U.S. 600, 614 (1989). But. untainted prope1ty is off limits

insofar as criminal in personam forfeiture is concerned except in the instance of "substitute

property" which is limited to the requirements of 21 U.S.C. § 853(p), which itself does not pern1it

the Government to confiscate substitute property from others, whether co-conspirators or



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disinterested stakeholders and other third-parties. Honeycutt, 137 S.Ct. at 1634 (stating that

"Congress did not authorize the Government to confiscate substitute prope1ty from other

defendants or co-conspirators; it authorized the Government to confiscate assets only from the

defendant who initially acquired the property and who bears responsibility for its dissipation.")

        For that reason, the federal forfeiture statutes, the Rules of Criminal Procedure, and binding

case law all require the U.S. Government to provide evidence-at trial or in connection with a

plea-to establish that specific property is properly subject to criminal forfeiture. See Watts, 786

F. 3d at 172; accord Fed. R. Crim. P. 32.2 (b)(l)(A). More specifically, "[w]hen the government

seeks to obtain an order of forfeiture, 'Federal Rule of Criminal Procedure 32.2(b)(l) ... requires

the sentencing court to determine what property is subject to forfeiture under the applicable

statute."' Watts, 786 F. 3d at 172 (quoting Capoccia, 503 F.3d at 109) (emphasis and ellipses in

original).

        The Second Circuit has stated that this "standard means that, among other things, 'the court

must determine whether the government has established the requisite nexus between the property

and the offense.'" Id. (quoting Fed. R. Crim. P. 32.2(b)(l)(A) (emphasis in original). "At various

points in the proceedings, the government bears the burden of proving this legal conclusion to

varying degrees of certainty: as a matter of probable cause at a post-indictment hearing, or by a

preponderance of the evidence at a bench trial or before a jury." Id. (internal citations omitted).

"Only if the gove1mnent meets the relevant legal threshold, however, may the property in question

be considered 'subject to forfeiture' in any legal sense. Prior to that, while the government has

simply announced its intent to seek forfeiture through the indictment, the prope1ty is seen merely

as 'potentially forfeitable,' or 'potentially subject to forfeiture."' Id. (citations omitted). See also

Luis v. United States, _U.S._, 136 S.Ct. 1083, 1091 (2016) (emphasizing the importance of




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a finding that the assets were shown to be "traceable to the crime"). Thus, the Government's failure

to meet its obligations in this proceeding with respect to the PacNet Accounts means the property

is not subject to forfeiture.

         Petitioners' have exclusive right, title, and interest to the PacNet Accounts. See Section

II.F, supra. Neither defendant Young, defendant Barka, nor anyone else has an interest in these

accounts. Id. Despite this fact, Petitioners were not provided with the required notice of this

proposed forfeiture by the Government. Following the entry of a preliminary order of forfeiture,

the United States is required to both publish a public notice and to provide direct written notice to

any person known to have alleged an interest in the property. Federal Rule of Criminal Procedure

32.2 provides that the "government must publish notice of the order and send notice to any person

who reasonably appears to be a potential claimant with standing to contest the fmfeiture in the

ancillary proceeding." Fed. R. Crim. P. 32.2(b)(6) (emphasis added). See also 21 U.S.C. §

853(n)(l). The Government was well aware for several years prior to the commencement of the

forfeiture action that Petitioners were the sole owners of the accounts. Yet, the Government have

provided no explanation for their failure to comply with this statutory requirement. 15

         The Government also seeks to deprive Petitioners of their prope1ty interest based solely on

the "consent" of a third party who indisputably has no interest in the prope1ty in a proceeding to

which Petitioners were not a paity. Accordingly, Petitioners are entitled to challenge the basis for

fo1feiture in this ancilla1y proceeding. See Daugerdas, 892 F .3d at 557 ("The Due Process Clause

does not permit us to hold that a third paity is precluded from asserting, in her own right, her


15 Notice is also required by DOJ's own policy which states "the AUSA must comply with the requirements applicable

to third party interests (e.g., 21 U.S.C. § 853(n)(l)-(7)), and the provisions of Federal Rule of Criminal Procedure
32.2, including affording third pa1ties with notice of the forfeiture and of their right to obtain an post-conviction
adjudication of their interests in the property." Asset Forfeiture Policy Manual 2019, U.S. Deparhnent of Justice,
Criminal Division ("DOJ Manual"), at 158-159, available at https://www.justice.gov/criminal-
afinls/file/839521/download.



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entitlement to property she claims is hers, on the ground that she is bound by a determination that

the property belonged to someone else, when that determination was made in a separate proceeding

in which she was not permitted to participate."). 16

         Petitioners recognize that third pa1ties typically do not have the right to challenge a finding

offorfeitability. But in this case, there was never a finding that the PacNetAccounts were subject

to forfeiture. There was no showing at trial or otherwise that Ryan Young either owned or had any

interest in the accounts or that the funds in the accounts were in any way traceable to the proceeds

of his criminal activity. Moreover, the U.S. Government should not be afforded the opportunity to

attempt to "cure" that defect. There should be no "second bite at the apple" in light of the

Government's actions, delays, and failures to comply with federal law. 17 The Preliminary Order

should be vacated as to the PacNet Accounts.

         The Government's abuse of the fo1feiture process in this proceeding constituted

gamesmanship designed to prevent Petitioners from protecting their property interests. By way of

example, the Government: (1) utilized the U.S. Depaitment of the Treasury's designation process

to restrain Petitioners' assets without effective recourse; (2) upon the rescission of that designation,

directed Petitioners to deposit funds into the Court registry to resolve pending claims against those

funds pursuant to the September 19, 2017 Settlement Agreement; (3) delayed and then failed to


16The Government has conceded before the Supreme Court that even in the context of an indictment founded on a
probable cause finding that there is a constitutional right to a hearing on the question whether "the assets in dispute
are traceable." Kaley, 134 S.Ct. at 1095 and n.3. See also 21 U.S.C. § 853(e)(l)(B) (requiring hearing). Such right
should be even more strongly protected here were the Petitioners, who have been determined after investigation by
the Government to be a disinterested stakeholder in the funds, were not provided notice as required by law.

17
   See also Fed.RCrim.P. 32.Z(b)(l)(A) (requiring the Government to act such that "[a]s soon as practical ... after a
plea of guilty ... is accepted, ... the court must determine what property is subject to forfeiture under the applicable
statute."). Defendant Young pied guilty in February 2018. The Government failed to file a motion for a preliminary
order of forfeiture until September 2019 or more than a year and a half later. That delay and violation of Rule
32.2(b)(1 )(A) combined with the Government's violation of the specific notice requirement of Rule 32.2(b)(6) suggest
the inference that the Govemment sought to catch the Petitioners unaware and to forfeit the funds by default. Such
gamesmanship is further reason for the Court to amend the Preliminary Order at this time as requested by the
Petitioners.


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provide then required specific notice to the Petitioners of its intention to forfeit their property in

the criminal proceeding of an unrelated individual; and (4) apparently relied upon the "consent"

to the forfeiture of the Petitioners' property from a criminal defendant who the Govermnent knew

had no property interest of any kind in the accounts and without even attempting to proffer any

evidence justifying forfeiture. In light of these actions-which constitute an egregious abuse of

the forfeiture process-the Government should not be permitted to now preclude Petitioners from

challenging the forfeitability of the PacNet Accounts. See Liquidators ofEuropean Federal Credit

Bank, 630 F .3d at 1148-49 (exercising discretion, based on Government's "sleight of hand" in

seeking to prevent Petitioner from raising "its legal claims challenging forfeitability"). To do so

would effectively reward the Government's abuse of the process.

        B.     Petitioners' Vested Interest in the PacNet Accounts Renders the Forfeiture in
               this Proceeding Invalid; the Property is not Forfeitable

       PacNet's vested and superior interest in the PacNet accounts "renders the order of forfeiture

invalid" as to those accounts. 21 U.S.C. § 853(n)(6)(A). Petitioners had exclusive "legal right, title,

or interest" in the PacNet Accounts "superior to any right, title, or interest of the defendant," Ryan

Young, "at the time of the commission of the acts which gave rise to the forfeiture of the prope1ty"

or at any other time. See Section II.F, supra; 21 U.S.C. § 853(n)(6)(A). The Govermnent cannot

satisfy any of the statutory bases to forfeit Petitioners' prope1ty as "constitut[ing] or is derived

from proceeds traceable to" the crimes committed by the convicted defendant, 18 U.S.C. §

981(a)(l)(C) or as "propetty of the defendant," forfeitable as substitute property under 21 U.S.C.

§ 853(p).

               1.      Petitioners Have a Vested and Superior Interest in the PacNet
                       Accounts

       Petitioners, not Ryan Young, own the PacNet Accounts. If, as here, a petitioner can

establish by a preponderance of the evidence that the petitioner "has a legal right, title, or interest


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in the property, and such right, title, or interest ... was vested in the petitioner rather than the

defendant or was superior to any right, title, or interest of the defendant at the time of the

commission of the acts which gave rise to the forfeiture," the Court "shall amend the order of

forfeiture" to strike the property from the order. 21 U.S.C. § 853(n)(6)(A). See United States v.

Wilson, 659 F.3d 947, 952 (9th Cir. 2011) ("The language of § 853(n)(6)(A) is clear. If the

petitioner can show by the preponderance of the evidence that his interest is greater than that of

the defendant, the district court is to amend the order of forfeiture."); United States v. Dupree, 919

F. Supp. 2d 254, 262 (E.D.N.Y. 2013), aff'd in part and vacated in part on other grounds sub.

nom United States v. Watts, 786 F.3d 152 (2d Cir. 2015) ("Thus, if a third-party establishes a valid

and superior interest in the forfeited property, then that property shall be stricken from the final

order of forfeiture."). 18

         Here, the Government first published an official Notification of Forfeiture on

www.forfeiture.gov on January 4, 2020. In that Notification, the U.S. Government gave official

notice that this Court entered the Preliminary Order "condemning and forfeiting" the following

property (in addition to other property not subject to this Petition) to the United States:

         All right, title, and interest in Nine Hundred Sixty-Three Thousand Two Hundred
         Five Dollars and FoUlieen Cents ($963,205.14), more or less, seized from BMO
         Harris Bank accoU11t number 3720703, held in the name of PacNet Services Ltd.
         (16-USP-002441), on or about September 20, 2016 in Washington, D.C.; ...

         All right, title, and interest in Three Hundred Sixty-Two Thousand Two Hundred
         Twenty-Two Dollars and Sixty-Eight Cents ($362,222.68), more or less, seized
         from Avidia Bank account number 33595257, held in the name of PacNet Services,
         Ltd. (l 7-USP-002300), on or about September 22, 2017 in Hudson, Massachusetts;

18 After a court enters a preliminary order of forfeiture, as the Court did here on September 11, 2019 (Dkt. 15), and
the Government publishes notice and sends notice to any person who reasonably appears to be a potential claimant
with standing to contest the forfeiture, a third party with an interest in forfeited property may "petition the comt for a
hearing to adjudicate the validity of his alleged interest in the property." Watts, 786 F.3d at 161.. Petitioners have
standing to file such a petition here. United States v. Church & Dwight Co., 510 F. App'x 55, 58 (2d Cir. 2013) (the
inquiry as to whether a petitioner has a "legal interest" in f01feited property sufficient to establish standing under §
853(n)(2) is identical to the inquiry on the merits under§ 853(n)(6)).



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       All right, title, and interest in One Million Five Hundred Three Thousand Two
       Hundred Fifty-One Dollars and Thirty-Nine Cents ($1,503,251.39), more or less,
       seized from BMO Han-is Bank account number 3722949, held in the name of
       PacNet Services Ltd. (17-USP-002301), on or about September 22, 2017 in
       Chicago, Illinois;

       All right, title, and interest in Seven Hundred Sixty-Five Thousand Six Hundred
       Eleven Dollars and Seven Cents ($765,611.07), more or less, seized from BMO
       Han-is Bank account number 2033306, held in the name of Chexx (America) Inc.,
       (l 7-USP-002302) on or about September 22, 2017 in Chicago, Illinois; and

       All right, title, and interest in any and all funds seized from the U.S. District Court
       Registry under case docket number 17-CV-6027 (E.D.N.Y.), up to and including
       the sum of Two Million Six Hundred Seventy-One Thousand Three Hundred
       Thirty-Five Dollars and Fifty-Nine Cents ($2,671,335.59) (18-USP-000180), on or
       about December 12, 2017 in Brooklyn, New York.

As described above, Petitioners had exclusive title and control over the first four of these accounts.

See Section II.F, supra. The fifth collection of funds constitutes funds Petitioners deposited in this

Comt's registry pursuant to the September 19, 2017 Settlement Agreement with the Government

in which the Government directed PacNet, as a disinterested stakeholder, to deposit in the Court's

registry funds contractually owed to certain former clients pending resolution of the OFAC

Interpleader. See Sections ILD, II.F, supra.

       All of this property is-and was at all times-owned by PacNet and held in bank accounts

exclusively owned, controlled, and used by PacNet. First, each of these accounts is held in the

name of PacNet or one of its subsidiaries. See Section II.F, supra. Second, the sole signatories for

each of the accounts are PacNet officers and employees. Id Third, the accounts were exclusively

used for official, lawful PacNet business operations. Id. No one other than PacNet employees had

access to these accounts. Id. Ryan Young, who has never worked for or on behalf of PacNet, and

was never on record as the owner of any Direct Mail business contracting with PacNet, certainly

did not have access to them. Id. Even if Mr. Young had a contractual claim against PacNet as a




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creditor, which he does not, he would never have controlled or held title to any of the accounts

allegedly subject to forfeiture. Although a general, unsecured creditor "might collect from a

debtor's general assets, they cannot be said to have any present claim to, or interest in, the debtor's

prope1ty." Luis v. United States,_ U.S._, 136 S.Ct. 1083, 1092 (2016). The Government

failed to show the contrary.

        The forfeited property is also untainted by Mr. Young's criminal activity. Indeed, the

Government did not even attempt to show that the Forfeited Funds are proceeds of Mr. Young's

criminal activity. Nor can the Government, given that these funds are entirely um-elated to Mr.

Young or his illegal conduct. Because the "legal right, title, or interest" in the Forfeited Funds is-

and has been at all times-vested in PacNet, not Young, the Preliminaty Order is "invalid" and

should be amended to strike PacNet's property. 21 U.S.C. § 853(n)(6)(A).

        At most, defendant Young is a "general creditor" of PacNet. As such, defendant Young

lacks an interest in any of PacNet's specific property. See Luis, 136 S. Ct. at 1092. For instance,

when the roles are reversed and a third-patty's interest in the criminal defendant's prope1ty is at

issue, a third-patty which is merely a general creditor lacks an interest in any specific property of

the criminal defendant. As explained by District Judge John Gleeson of this Court: "A general

creditor of the defendant lacks an interest in any of the defendant's specific property and, thus,

lacks standing under 853(11)(2)." United States v. Ovid, No. 09-CR-216 (JG)(ALC), 2012 WL

2087084, at *3 (E.D.N.Y. 2012) (citing DSI Assocs. LLC v. United States, 496 F.3d 175, 184 (2d

Cir. 2007) and United States v. Ribadeneira, 105 F.3d 833,835 (2d Cir. 1997)) (following the rule

that "general creditors lack a legal interest in forfeited prope1ty" because they have no interest "in"

any particular, specific property). See also United States v. BCCI Holdings (Luxembourg), S.A.,

46 F.3d 1185, 1191-92 (D.C. Cir.) (interpreting forfeiture provision under RICO and stating that




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"bank depositors, as general creditors, have no interest in the specific account to which their

deposits might be traced"), cert. denied, 515 U.S. 1160 (1995).

        Applying that rule here, defendant Young as a general creditor arising from his status as a

former direct mail client of PacNet, as alleged by the Government, "lacks an interest in any" of

the "specific property" in the PacNet Accounts. Accordingly, the interest in the specific prope1ty

maintained in the PacNet Accounts "was vested in" PacNet "rather than the defendant" Young. 21

U.S.C. 853(n)(6)(A). Fmther, PacNet's property interest in the funds most definitely "was

superior" to defendant Young who had no prope1ty interest in any particular, specific property of

PacNet. The same conclusions apply even more strongly for the specific property or bank account

funds of Accu-Rate and Chexx, of which defendant Young was not even arguably a general

creditor (nor was defendant Barka). Thus, pursuant to the plain te1ms of Section 853(11)(6), "the

comt shall amend the order of forfeiture" to strike the provisions of the order referencing the

PacNet Group's funds in the seized accounts, including the funds from the bank accounts of Chexx,

Accu-Rate, and PacNet Services which were deposited in the court's interpleader fund prior to

being seized by the Government.

               2.      The Government Has No Statutory Basis to Forfeit the PacNet
                       Accounts

       The Government may only seek to forfeit the Funds in the PacNet Accounts on one of two

legal bases: (l)(a) the funds in the accounts are "prope1ty, real or personal, which constitutes or is

dedved from proceeds traceable to" the crime committed by the convicted defendant and (b) the

funds were obtained or acquired by the defendant, 18 U.S.C. § 981(a)(l)(C) and Honeycutt, 137

S.Ct. at 1632-33; or (2) the funds in the accounts constitute tainted proceeds initially acquired by

the defendant and then transferred or sold to, or deposited with, a third paity and thus forfeitable




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as substitute property, 21 U.S.C. § 853(p) and Honeycutt, 137 S.Ct. at 1644. The Government

failed to satisfy either of these bases for forfeiture nor is there any other valid basis for forfeiture.

                           a.       The Property Does Not Constitute and Was Not Derived from
                                    "Proceeds Traceable to" Young's Criminal Charge

         Although the Preliminary Order was entered pursuant to 18 U.S.C. § 98 l(a)(l)(C), it does

not comply with the plain language of that statute. Under Section 98l(a)(l)(C), the Government

may only forfeit "[a]ny property, real or personal, which constitutes or is derived from proceeds

traceable to" Young's criminal charge. Furthennore, under Second Circuit case law, in order for a

court to be able to forfeit property in a criminal matter under Section 981(a)(l)(C), "the propetty

must have, at some point, been under the defendant's control or the control of his co-conspirators."

United States v. Contorinis, 692 F.3d 136, 147-48 (2d Cir. 2012) ("[W]e hold that the district court

etTed in ordering appellant to forfeit funds that were never possessed or controlled by himself or

others acting in concert with him, and remand to dete1mine the proper forfeiture amount."); accord

United States v. Dobruna, 146 F. Supp. 3d 458, 461 (E.D.N.Y. 2015) (denying forfeiture as to

funds never possessed by defendant). 19

         Rule 32.2(b)(l)(A) similarly dictates that the Gove1mnent must have "established the

requisite nexus between the prope1ty and the offense" before the Comt may issue a preliminary

order of forfeiture. See also United States v. Emor, 785 F.3d 671, 680-81 (D.C. Cir. 2015).

         Far from catTying its burden of linking the prope1ty to Mr. Young's criminal offense, the

Govermnent submitted a three-sentence motion for entry of a preliminary order of forfeiture. The

Government failed to establish a nexus between the prope1ty and Young's offense because the




19 PacNet notes that, in the wake of the Supreme Court's 2017 decision in Honeycutt, it likely is no longer sufficient
to merely show that the property was in the control of a co-conspirator-the Government must show that the property
was under the control of the defendant himself. That distinction does not matter here, as the Government has not
attempted to show that Young or any of his co-conspirators controlled the property at issue.


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Government cannot do so: there is no nexus between the PacNet Accounts and the criminal charge

to which Mr. Young pied guilty.

         The PacNet Accounts were not even identified as property subject to forfeiture until two

days after Young's guilty plea with the filing of a bill of particulars. See Dkt. 4. The bill similarly

provided no reference to how the accounts were related to Mr. Young's criminal activity in any

way. There was no evidence presented in connection with the guilty plea or otherwise in the

proceeding that Mr. Young held any interest or right in the PacNet accounts or that the funds were

proceeds of any criminal activity. See, e.g., Transcript of February 13, 2018 Change of Plea

Hearing of Ryan Young at 11. Indeed, there was not even a finding of probable cause by a grand

jury that the accounts were related to the offense. Mr. Young pied guilty on February 13, 2018.

Dkt. 7, United States v. Young, 18-cr-00046 (E.D.N.Y. Feb. 13, 2018). Furthermore, there was no

evidence that defendant Young acquired the funds in the accounts. Honeycutt, 137 S. Ct. at 1633. 20

         Notably, the Govetmnent's approach was wholly inconsistent with DOJ's own policies. In

deference to the statutory requirements of criminal forfeiture, the DOJ's 2019 Asset Forfeiture

Manual explicitly states "[t]here must be a statutory basis for the forfeiture of the propetty and

sufficient facts stated in the settlement documents and any related pleadings to satisfy the elements

of the statute." DOJ Manual, supra note 15, at 151. The Government cam10t cure this defect now

by alleging that the accounts were simply involved somehow in the alleged criminal conduct. It

was required to demonstrate the accounts contain "proceeds of the criminal activity" which were

obtained or acquired by defendant Young; but, it failed to do so when it was so required. The

Government did not even attempt to make such a showing.



20
   The Govemment has conceded before the Supreme Comt that "the rationale of Honeycutt applies equally to §
98l(a)(l)(C) as it does to§ 853(a)(l)." Peithman v. United States, _U.S.___, 140 S. Ct. 340 (2019) (Sotomayor
J., dissenting from denial of certiorari).


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                       b.      The Funds Are Not "Property of the Defendant" and,
                               Therefore, Are Not Subject to Forfeiture as Substitute
                               Property

        Nor may the Comt forfeit PacNet's propetty as "substitute prope1ty" under 21 U.S.C. §

853(p). See Dkt. 15 at 3 (referencing 21 U.S.C. § 853(p)). Where the Govennnent seeks to forfeit

substitute assets, "only the substitute 'property of the defendant' may be forfeited to the

Government." United Statesv. Lester, 85 F.3d 1409, 1412, 1415 (9th Cir. 1996)(quoting 21 U.S.C.

§ 853(p)) (emphasis in original). The Government has not shown-and cannot show-that

PacNet's funds were somehow the property of Young.

       Nor has the Government carried its burden of proving that any of the five conditions

precedent to forfeiting substitute prope1ty are present here. See 21 U.S.C. 853(p)(2); Honeycutt,

137 S. Ct. at 1634 ("Only if the Government can prove that one of these five conditions was caused

by the defendant may it seize 'any other property of the defendant, up to the value of the tainted

property-rather than the tainted property itself."). PacNet's funds therefore cannot be forfeited as

substitute property.

       Perhaps even more fundamentally, PacNet's funds cannot be forfeited as substitute

property because joint and several forfeiture is barred with respect to substitute assets:

       Section 853(p)(l) demonstrates that Congress contemplated situations where the
       tainted property itself would fall outside the Government's reach. To remedy that
       situation, Congress did not authorize the Government to confiscate substitute
       property from other defendants or co-conspirators; it authorized the
       Government to confiscate assets only from the defendant who initially
       acquired the prnperty and who bears responsibility for its dissipation.
       Permitting the Government to force other co-conspirators to turn over untainted
       substitute prope1ty would allow the Government to circumvent Congress' carefully
       constrncted statut01y scheme, which permits forfeiture of substitute property only
       when the requirements of§§ 853(p) and (a) are satisfied.

Honeycutt, 137 S. Ct. at 1634 (emphasis added). The forfeitme of all the available property

belonging to an unindicted, un-convicted entity as substitute prope1ty also would run afoul of this



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country's ban on forfeiture of estates. See S. Rep. 99-1026, pt. 2, at 83-84 (1986) (American Bar

Association's Repo1t to the House of Delegates referencing tbe "serious constitutional problems"

with forfeiture of substitute assets and noting that such forfeiture may constitute an

unconstitutional forfeiture of estate). In fact, the Govemment has already instituted and catTied out

a forfeiture of estate by seizing and closing Petitioners' entire business operations through the

coordinated action of the Justice and Treasury Depaitments to designate unlawfully the Petitioners

under national security authorities as a significant TCO.

       As outlined above, there can be no reasonable dispute that Petitioners exclusive and

superior title to the PacNet accounts. Accordingly, Mr. Young cam1ot consent to forfeiture of

PacNet's property in which he indisputably holds no interest and the funds cannot be forfeited as

substitute assets. DOJ' s own 2019 Asset Forfeiture Manual provides that "[i]n a11y plea agreement,

a defenda11t may consent to forfeiture. A plea agreement that purports to forfeit the property may

only bind the patties thereto and transfers only the interest that the settling claimant/defendant

possesses." DOJ Manual, supra note 15, at 158-159 (emphasis added). Mr. Young has never had

any interest in or control over the PacNet Accounts and cannot consent to tlte forfeiture.

                       c.     As the Supreme Court Emphasized in Honeycutt, There Can
                              Be No Joint-and-Several Forfeiture Liability

       In criminal forfeiture, which is an action against the individual ("in personam") as opposed

to an action against the prope1ty ("in rem"), only the defendant's interest in a property may be

forfeited. Fed. R. Crim. P. 32.2(b) advisory comm. notes (2000). The Govemment has claimed in

the inte1pleader civil action that it has seized PacNet funds as pa1t of the Barka and Young criminal

cases because "the govermnent may seek forfeiture of the proceeds of an entire conspiracy against




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a co-conspirator charged in a criminal case." 21 In so arguing in a pleading filed with this Court in

July 2018 in the OFAC Interpleader, the Government ignored the Supreme Court's unanimous

ruling in Honeycutt which was decided the prior year in June 2017. Instead, the Government relied

exclusively upon 2006 and 2012 judicial opinions which were decided prior to, and oven-uled by,

the United States Supreme Court in Honeycutt, 137 S. Ct. at 1631-34. In Honeycutt, a unanimous

Supreme Court emphasized that criminal forfeiture "is limited to property the defendant himself

actually acquired as the result of the crime." Id. at 1635.

         The holding in Honeycutt applies with full force to criminal forfeitures under 18 U.S.C. §

981(a)(l)(C), like the proposed forfeiture of the PacNet Accounts in this case. The Government

has conceded before the U.S. Supreme Court, that "there is no 'distinguishing 18 U.S.C. 981 from

21 U.S.C. 853 for pmposes of joint and several liability.'" Peithman v. United States, 140 S. Ct.

340 (2019) (Sotomayor J., dissenting from denial of ce1tiorari) (quoting Brief in Opposition of the

Solicitor General at 6). TI1e Court of Appeals for the Second Circuit and other comts have

recognized that the Supreme Comt's ruling in Honeycutt applies to forfeitures under other federal

forfeiture statutes, including 18 U.S.C. § 981 and§ 982. 22




21
  See OFAC Interpleader, Dkt. 158-5, Government's Opposition to Motion to Show Cause and for Sanctions at 15-
16, (citing De Almeida v. United States, 459 F.3d 377,381 (2d Cir. 2006) and United States v. Watts, 477 F. App'x
816, 817-18 (2d Cir. 2012)).
22
   United States v. Fiumano, 721 F. App'x45, 51-52 (2d Cir. 2018) (summary order) (vacating forfeiture order seeking
to impose joint and several liability on the defendant pursuant ta 18 U.S.C. § 98l(a)(l)(C)); United Stales v. Gil-
Guerrero, 759 F. App'x 12, 18 (2d Cir. 2018) (same); United States v. Gjeli, 867 F.3d 418, 427-28 (3d Cir. 2017)
(finding that 18 U.S.C. § 98J(a)(l)(C) is "substantially the same" as the statute in question in Honeycutt and holding
that Honeycutt applies to criminal forfeitures under§ 98l(a)(J)(C)); United States v. Brown, 714 F. App'x 117, 118
(3d Cir. 2018) (finding that "Honeycutt applies with equal force to§ 982(a)" and, accordingly, "the imposition of joint
and several liability in the forfeiture money judgment was an error which requires remand"); United States v. Carlyle,
712 F. App'x 862, 864-65 (11th Cir. 2017) (per curiam) ("Although the forfeiture statute at issue in Honeycutt, 21
U.S.C. § 853, is not the same as the forfeiture statute at issue here, 18 U.S.C. § 98l(a)(l)(C), the two statutes are
largely the same in terms of their pe1tinent language, and so it appears that the Supreme Court's decision would apply
to the statute at issue in the present case.").


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          As an initial matter, the contemplated forfeiture of the funds listed in paragraphs (c)

through (g) of the Preliminary Order is barred by Honeycutt because the Govemment has not

shown that Young "himself actually acquired" the property in the Preliminary Order "as the result

of the crime." Nor can the Government make that showing, with respect to PacNet's funds

identified in paragraphs (c) through (g) of the Preliminary Order, because those funds were the

property of PacNet, and defendant Young never "acquired" them, whether as the result of a crime

or otherwise.

         In short, PacNet's property cannot be forfeited in this criminal matter as part of defendant

Young's sentencing under a theory of joint and several liability. Not only has the Government

failed to prove, or even pied, that PacNet was somehow the co-conspirator of Young, Honeycutt

bars joint and several forfeiture liability even in the case of co-conspirators as present in the

Honeycutt case. 23 As Honeycutt explains, a Court in ordering criminal or in personam forfeiture

may not order the forfeiture of "untainted prope1ty" and "is limited to property the defendant

himself actually acquired as the result of the crime." 137 S. Ct. at 1632 and 1635; see also, e.g.,

United States v. Fiumano, 721 F. App'x 45, 51-52 (2d Cir. 2018) (summary order) (vacating

forfeiture order pursuant to 18 U.S.C. § 98\(a)(l)(C) imposing joint and several liability on

defendant).




23
  After a year-long investigation with input from the U.S. Postal Inspection Service and the Justice Department, the
U.S. Deparbnent of the Treasmy ultimately determined PacNet to be a "disinterested stakeholder" and, therefore, an
appropriate interpleader plaintiff. Based on that determination and finding, the U.S. Govermnent entered into the
September 19, 2017 Settlement Agreement, which was reviewed by the Justice Department. Based on that
determination and finding, the Government issued a specific license authorizing the Petitioners to submit $5.2 million
of the now seized funds into an Interpleader Fund within the Court's registry. Based on that determination and finding,
the Government did not oppose the Petitioner's October 16, 2017 Motion for Interpleader Deposit. Thus, by the U.S.
Government's own determination and admission, the PacNet Group was not an intentional wrongdoer. William Penn
Life Ins. Co. ofN.Y. v. Viscuso, 569 F. Supp. 2d 355, 362-63 (S.D.N.Y. 2008) (explaining and interpreting the rule
of the Second Circuit allowing a party which may have acted negligently in relation to the disputed funds to serve as
an interpleader plaintiffbutnot a party which has acted unconscionably, in bad-faith, or willfully in wrongful conduct).


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        C.     The Government Should Be Judicially Estopped from Forfeiting These Funds

        The record of this proceeding reveals that the U.S. Govemment has abused the criminal

fo1feiture process in order to effectuate the seizure and forfeiture of funds from Petitioners that it

lacked a basis to seize civilly from PacNet. The Govermuent should be judicially estopped from

forfeiting the property in light of the Govermnent' s September 19, 2017 Agreement with PacNet

Services, the Govemmeut' s October 6, 2017 license directing the filing of the OFAC Interpleader

in this District to resolve all outstanding claims relating to the funds, and the Govermuent' s consent

to PacNet's October 16, 2017 Motion for Interpleader Deposit, which were all relied upon by the

Court in issuing its October 18,2017 Order Authorizing Deposit of Funds into the Court Registry.

       As Judge Failla recently explained in District Attorney of NY. County v. Republic of the

Philippines, 307 F. Supp. 3d 171 (S.D.N.Y. 2018), a sovereign is judicially estopped from taking

a position contrary to one it consistently has taken: "The pmpose of the doctrine is to 'protect the

integrity of the judicial process by prohibiting pa1iies from deliberately changing positions

according to the exigencies of the moment, and because it is designed to prevent improper use of

judicial machinery."' Id. at 218 (quoting Intellivision v. Microsoft Corp., 484 F. App'x 616, 619

(2d Cir. 2012)). Here, the Govenunent devised, initiated, directed, and facilitated through a

mandatory federal license the filing of the inte1pleader complaint and deposit of funds into the

Cami's registry. Judicial estoppel bars the Govermuent from reversing course and seeking

fo1feiture of those funds while taking advantage of its written agreement with PacNet under which

PacNet agreed not to sue OFAC and its officials for their unlawful actions in the designation of

PacNet and the destruction of its lawful and highly regulated financial services business in Canada.

       The Govenunent devised the plan for the OFAC Interpleader and then entered into an

agreement with PacNet dated September 19, 2017 that required the initiation of that proceeding.

The Agreement was reviewed and approved by the DOJ, and, in the Agreement, OFAC promised


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to de list PacNet, its subsidiary companies, and three individuals in exchange for PacNet's promise

to release its claims against OFAC and to interplead ce1tain funds owed to entities alleged to be in

violation of the law by the United States. The Agreement also required PacNet to provide OFAC

with a list of outstanding debts and liabilities to PacNet's former clients. On September 19, 2017,

PacNet provided that list.

        On October 6, 2017, OFAC provided written notice to PacNet in which it asserted that

several former PacNet clients were suspected of having violated the law. But the Government

recognized PacNet's innocent stakeholder status by directing PacNet to initiate the interpleader

and issuing a license authorizing PacNet to transfer the entirety of the interpleader stake (i.e.

$5,220,855.08) into the Court registry. On October 16, 2017, PacNet requested leave to deposit

$5,220,855.08 into this Comt's registry. OFAC Interpleader, Dkt. 2. The Government did not file

an opposition or response of any kind to the motion, and, on October 18, 2017, Judge Garaufis

granted the motion. Id, Dkt. 7. In light of the Government's significant involvement in this matter

and "to prevent improper use of judicial machinery," the Court should hold that the Government

has waived any right to forfeit PacNet's funds. See Republic of the Philippines, 307 F. Supp. 3d at

218. Instead, any conflicting interests in the funds should be resolved in the pending OFAC

Interpleader.

       The Government's misuse of the forfeiture process should not be rewarded. Looking back

on the course of the OFAC designation, the OFAC Interpleader, and this forfeiture actions suggests

there was "coordinated action" by two U.S. government agencies to engage in "impermissible

gamesmanship" which resulted in a "single integrated effort by [the Govermnent] to circumvent

the Constitution by making two coordinated stops," first the designation, then the demand for

"forfeiture" in the form of an interpleader. United States v. Gorman, 859 F. 3d 706, 719 (9th Cir.




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2017) (similar analysis in the context of seizure of property in second traffic stop that followed

initial unconstitutional stop). Indeed, the Government's clandestine tactics to seize property

subject to the Agreement and Judge Garaufis's Interpleader Deposit Order flies in the face of

simple fairness and well-established principles of contract:

            When the Government provides specifications directing how a contract is to be
            perfo1med, the Government warrants that the contractor will be able to perform the
            contract satisfactorily if it follows the specifications .... It is quite logical to infer
            from the circumstances of one party providing specifications for performance that
            that party warrants the capability of performance.

Herculesv. United States, 516U.S. 417,425 (1996).

                     D.       The Government's Actions Violated the U.S. Constitution.

            In addition to the infirmities described above, paragraphs (c) through (g) of the Preliminary

Order should be struck because the Government's actions with respect to PacNet violated the Due

Process Clause of the U.S. Constitution. 24 In seizing and seeking to forfeit PacNet's property,

without notice, in a criminal proceeding to which PacNet is not a party, the Government has

violated PacNet's right to due process under the Fifth Amendment to the Constitution and

unreasonably seized PacNet's property in violation of the Fourth Amendment to the Constitution.

The Preliminary Order must therefore be amended such that paragraphs (c) through (g) be struck.

            "[T]here cannot exist under the American flag any governmental authority untrammeled

by the requirements of due process of law as guaranteed by the Constitution of the United States."

Calero-Toledo v. Pearson Yacht Leasing Co., 416 U.S. 663, 668 n.5 (1974). Only in "an

extraordinary situation" does "postponement of notice and hearing until after seizure ... not deny

due process." Id. at 679-80. No such pre-seizure notice was given to PacNet here. To the contrary,



24
     It further constitutes a violation of the Constitution's prohibitions on excessive fines and double jeopardy to forfeit
PacNet's property as the Government previously has imposed unlawful punishment upon PacNet, resulting in the
closing and tem1ination of a lawful and regulated commercial financial services enterprise.


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the Government expressly agreed and directed that the OFAC Interpleader proceeding would be

the appropriate proceeding in which to resolve potentially competing claims to PacNet's property.

But the Government ultimately elected to violate its Agreement with PacNet and seized PacNet's

property without prior notice.

        For a seizure without prior notice or hearing to be constitutionally pe1missible, three

elements must be satisfied:

       [First,] the seizure has been directly necessary to secure an important gove1mnental
       or general public interest. Second, there has been a special need for very prompt
       action. Third, the State has kept strict control over its monopoly of!egitimate force:
       the person initiating the seizure has been a government official responsible for
       determining, under the standards of a nan·owly drawn statute, that it was necessaiy
       and justified in the paiticular instance.

Id at 678. The Government cannot satisfy those elements here. There was no "special need for

very prompt action," nor was the seizure "directly necessary to secure an impo1tant governmental

or general public interest." In fact, over $2.6 million of the funds seized without prior notice were

deposited in the Comt's registry in suppmt of the OFAC Interpleader. It defies reason to suggest

that the Government needed to take "ve1y prompt action" with respect to those funds entrusted to

the Court. The lack of notice the Government provided before seizing the prope1ty and before

filing the untimely bills of particulars and a request for a preliminary order of forfeiture therefore

violate the Due Process Clause.

       Even more fundamentally, the Government has violated PacNet's due process rights by

seeking to forfeit PacNet's prope1ty in a criminal proceeding without charging PacNet of a crime,

much less convicting it. As the Supreme Comt recently reiterated in Nelson v. Colorado: "Absent

conviction of a crime, one is presumed innocent," 137 S. Ct. 1249, 1252 (2017); therefore, absent

a valid conviction of an individual, it violates the Due Process Clause to criminally forfeit a

person's property. A comt "may not presume a person, adjudged guilty ofno crime, nonetheless



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guilty enough for monetary exactions." Id at 1256 (emphasis in original). Here, PacNet has not

been adjudged guilty of any crime and so its property may not be forfeited in a criminal proceeding.

To do otherwise would violate its due process rights.

         Far from charging PacNet with a crime, much less convicting it, the Government has

conceded that PacNet is not criminally culpable and cannot be a co-conspirator of Young. In fact,

the Government has agreed that PacNet is a disinterested stakeholder in relation to funds

contractually owed to companies associated with Young and many others, which is why the

Government entered into the September 2017 Agreement and directed and licensed PacNet to

initiate the OFAC Interpleader. See Viscuso, 569 F. Supp. 2d at 362-63. Under Nelson, the

property of such an admittedly disinterested stakeholder cannot be forfeited in a criminal

proceeding.

         Indeed, based on its own interpretations of the law, the Government has violated the

fundamental requirements of criminal forfeiture. The DOJ has explained criminal forfeiture to the

U.S. Congress in the following manner: "Criminal forfeiture is an action against a defendant that

includes notice of the intent to forfeit property in a ctiminal indictment. A criminal conviction is

required, and forfeiture is pait of the defendant's sentence." 25 But PacNet is not a criminal

defendant. PacNet has not received notice through indictment or otherwise. PacNet has not been

convicted. To the contrary, the Government after its investigation and review of documenta1y

evidence and public record info1mation has agreed that PacNet is an innocent, disinterested

stakeholder, not a criminal actor.

         Due process also requires the Court to allow PacNet to intervene and challenge the


25
  DOJ Statement for the Record before the Senate Judiciaiy Committee for a Hearing Entitled "The Need to Reform
Asset Forfeiture" (April 15, 2015) at p. 3, available at https://www.justice.gov/sitesldefault/files/testimonies/
witnesses/attachments/2015110106/doj_submission_for_the_record_re_asset_forfeiture_reform_act_ l 5aprl 52_ 2_ 50
8_compliant.pdf(last visited Feb. 21, 2020) ("DOJ Statement").


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Preliminary Order. As the Supreme Coutt has held: "It is a violation of due process for a judgment

to be binding on a litigant who was not a party or a privy and therefore has never had an oppmtunity

to be heard." Parklane Hosiery Co., Inc. v. Shore, 439 U.S. 322, 327 n.7 (1979). Futthermore,

defendant Young does not have the same incentive as a third-party claimant to argue that prope1ty

subject to forfeiture is not his or otherwise is not properly forfeitable. Regardless of its disposition,

defendant Young will not end up with the property either way, and he potentially could obtain a

windfall if the Government treats PacNet's assets as substitute property to satisfy Young's debt.

Futthermore, although PacNet caimot be certain because much of the docket in this case is sealed-

an issue that also infringes upon PacNet's due process rights-Young likely agreed in his plea

agreement not to object to the forfeiture of the property identified by the Government. If Young

were to honestly apprise the Comt of the owners of the prope1ty identified in paragraphs (c)

through (g), he may risk being accused by the Government of violating his plea agreement.

       In addition, the Government's seizures of funds following the September 19, 2017

Agreement were unreasonable and thus in violation of the Fourth Amendment. United States v.

James Daniel Good Real Property, 510 U.S. 43, 48-52 (1993) (finding that both the Fourth

Amendment's prohibition upon unreasonable seizures and the Fifth Amendment's due process

requirement restrict the Government's forfeiture authorities). The Government's ex parte seizures

in September 2017 and December 2017 were built upon the unlawful September 22, 2016

designation and seizure of PacNet's funds and business. Gorman, 859 F. 3d at 719 (finding

unreasonable seizure of property in second traffic stop that followed initial unconstitutional stop).

The seizure and forfeiture proceedings here have been an exercise in gamesmanship, not

reasonable seizures consistent with the Fourth Amendment and due process, and are yet another

example of the "egregious and well-chronicled abuses" of forfeiture laws by government actors.




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Leonard v. Texas, 137 S. Ct. 847, 847-48 (2017) (Thomas, J. concun-ing). The Govennnent has

not even pursued the forfeiture in a linear or lawful manner. Indeed, the Govennnent initially

attempted to forfeit PacNet's bank accounts through an administrative forfeiture. But when PacNet

objected to the administrative forfeiture, the Govennnent failed to act. Rather than follow the civil

forfeiture law and pursue civil forfeiture in a civil proceeding, the U.S. Attorney's Office for the

Eastern District of New York sought to circumvent and bypass federal law by using the criminal

prosecution of Young to give a false air of legitimacy to the proceeding. As the DOJ has stated to

the U.S. Congress:

       Following seizure, the government is required to send direct written notice of
       the administrative forfeiture proceeding to every person who appears to have
       an interest in the seized property and whose identity is known to the
       government. To ensure notice to interested persons whose identities are not known
       to the government, the government publishes notice of the administrative forfeiture
       proceeding on a dedicated website www.forfeiture.gov. If anyone files a claim
       with the administrative agency contesting the forfeiture, the agency refers the
       case to a United States Attorney's Office, which then has to decide whether to
       proceed with a judicial forfeiture action or to return the property. If no claim
       is filed, the administrative forfeiture still is not finalized until it has been reviewed
       for legal sufficiency by agency counsel.

See DOJ Statement, supra note 25, at 4 (emphasis added). Here, the Government twisted the DOJ's

own guidance and failed to give PacNet the process it is due under federal law. Such

gamesmanship highlights not only the unconstitutional lengths the Government will go to in order

to forfeit PacNet's property, it also illustrates the need to enjoin the Government from seizing or

attempting to forfeit PacNet's prope1ty in the future. The Government simply cannot be trusted to

act evenhandedly and constitutionally with respect to PacNet.

       Furthe1more, the fact that the Government is now surreptitiously attempting to forfeit

PacNet's property in a criminal proceeding amounts, in effect, to malicious prosecution and double

jeopardy after already being subjected to criminal punislunent within the meaning of the




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Constitution when, without prior notice or opportunity to be heard, designated and labeled a

"significant transnational criminal organization" "such as" Los Zetas and the Camo11'a or Italian

Mafia by the Government without factual or legal cause, thereby closing its business operations

and taking its property and all future earnings. OFAC Interpleader, Dkt. 1, ,i,i 30-53. This is

particularly true given that the Government mandated the OFAC Iuterpleader, directed that PacNet

file it, licensed the transfer of funds, and did not oppose PacNet's motion to deposit the funds in

the Court registry, but then reversed course, seized the funds, and attempted to forfeit them without

due process. See United States v. Sanders, 211 F.3d 711, 716 (2d Cir. 2000) ("[T]o punish a person

because he has done what the law plainly allows him to do is a due process violation of the most

basic sort, and a prosecution brought with vindictive motive, penalizing those who choose to

exercise constitutional rights, would be patently unconstitutional.").

         E.       Any Forfeiture of the PacNet Accounts Cannot Exceed Money Judgment

         Finally, even to the extent that the Government could reach Petitioners' property (and it

cannot), it would be limited to the total amount of the $1.5 million money judgment entered against

Young minus the amounts already paid to satisfy that judgment. Such judgment should reflect the

defendant's total forfeiture liability arising from the offense of conviction. 26 This Court has found,

based on the Government's submission and agreement with defendant Young, that the total amount

of defendant Young's forfeiture liability is $1,500,000. The Preliminary Order provides as follows:

        Pursuant to 18 U.S.C. § 98l(a)(l)(C), 28 U.S.C. § 2641(c) and 21 U.S.C. § 853(p),
        the defendant shall forfeit to the United States the full amount of the Forfeiture
        Money Judgment and all right, title and interest in the Subject Assets. The forfeiture
        of the Seized Sussex Accounts, the Seized TD Bank Accounts and the Substitute
        Funds will be credited towards the Forfeiture Money Judgment. Fmther, Six
        Hundred Thhty-Two TI10usand Four Hundred and Thiity Dollars and Zero Cents
        ($632,430.00) of the Administratively Forfeited Funds will be credited towards the
        Forfeiture Money Judgment.

26 See, e.g., United States v. Awad, 598 F.3d 76, 78-79 (2d Cir. 2010); United States v. Ginsburg, 773 F.2d 798, 802

(7th Cir. 1985); United States v. Casey, 444 F.3d 1071, 1073-77 (9th Cir. 2006).


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Prelimb:i<iry Order at 3"

        Thus, pet the tetms of the Preli!nihary Order, Young has already forfeited $51(),943,43.17

ofhlsownfundsand property alJ.d h!lc!an additfrinal $<;i32,430.00 iu funds. seized from faol)ll,Barka

credlted against his money judgme;nt. That leavesjust $290,626.51 still outstanding arid represents

the upper limit of what the. Government is entitled to seize from the PacNet Accounts even if it

could meet its burden ofdemonstrating forfeitabilify {which it has foiled to do .and cannot}

        IV. CONCLlJSION

         For the teasons set forth above, the Court shou1d strike p1,n1graphs (c) through (g) from th,;;

Preli1111nary Order and ordei: that the property identified in those paragraphs be deposited in the

interpleader account maintained in the Court's registry ih Case No. 17-cv-6021 (E.D.N.Y.} in

sufficient amount to satisfy the terms ofthe Government's $<'lptember 2017 agreement with PacNet

and tl111t l\11)' remaining funds be returued to the Petitioners. Petitioners fud:her respectfully request

that the Court (1} bar the Government from further action or seizure against the subject funds

outside the context of recovery through.the OFAC Interpleader and (2) award attorneys' fees and

expe)'._lses pursuant to 28 U.S.C. § 2412 l\Ild othet availabk provisions of fe.detal law.

Dated: Eebruaty 28th; 2020


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                                                    Telephone: (202) 524·4142

                                                    Counsel for Petitioners

'" Thi$ amount consists of .$238,638.37 .seized from Yo1111g's. accom1.ts ($17,726.25 + $8,1 I0.50 + $85,309.14 +
$4$,953.80 + $73,332,93) plus tlievalue ofYoung's property .($338,305:06).plus $632,430.00 seized from his alleged
co-corisp\rator Ercan Sarka for a total of$l,209, 373.43.


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                                 CER'nFICATE OF SERVICE
       I hereby Qertify that, onfebrua:ry 2.8th,2020, l caused a cory orthe fwegoli,g to be filed

in person withthe Cletk of the Court.

       I.further certffy that, as reql\ited by the Notice of Forfeiture, a copy of this document will

be tr!JnSmitted by United States mail to the following;

       Christopher Charles Caffart,ne
       610 Federal Plaza
       Cen,tral Islfp, NY 11722
       Counsel/or ffnit;,;d States

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foregoing Petition is true and correct.,



Executed this 27th day ofFebruary2020




                                          BILLLEONG[ccom1tant]
                                          [Oii behalfof PacNet Services, Chexx, and Accu~Rate]




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